                Case 23-01916-LT7                        Filed 06/30/23             Entered 06/30/23 17:54:29                  Doc 1        Pg. 1 of 44


 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                              Southern District of California


 Case number (if known):                                            Chapter     7                                                       ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Mapping Operation Data Unmanned Solutions



    2. All other names debtor used                MODUS
       in the last 8 years
                                                  Mapping Supply
     Include any assumed names,      Lidar University
     trade names, and doing business UAV Solutions, Inc.
     as names



    3. Debtor's federal Employer                  4      7 – 4     1   0    8   0   1   7
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  13985 Calle Cardenas #675633
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                  Rancho Santa Fe, CA 92067
                                                  City                                  State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                  San Diego                                                     Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
               Case 23-01916-LT7                    Filed 06/30/23             Entered 06/30/23 17:54:29                        Doc 1      Pg. 2 of 44


Debtor      Mapping Operation Data Unmanned Solutions                                                            Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ✔
                                                ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor        Mapping Operation Data Unmanned Solutions                                                       Case number (if known)
             Name


  11. Why is the case filed in this    Check all that apply:
      district?
                                       ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       ❑
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have      ✔ No
                                       ❑
      possession of any real
      property or personal property
                                       ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
      attention?                                 ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?


                                                 ❑     It needs to be physically secured or protected from the weather.
                                                 ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                       options).
                                                 ❑     Other
                                                 Where is the property?
                                                                            Number         Street




                                                                            City                                           State       ZIP Code
                                                 Is the property insured?
                                                 ❑ No
                                                 ❑ Yes.        Insurance agency
                                                               Contact name
                                                               Phone

          Statistical and administrative information

         13. Debtor’s estimation of    Check one:
             available funds?          ❑ Funds will be available for distribution to unsecured creditors.
                                       ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                       ❑
                                          creditors.

         14. Estimated number of
                                        ✔
                                        ❑    1-49 ❑ 50-99                  ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                  ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets           ❑    $0-$50,000                       ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                        ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                        ✔
                                        ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                        ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor        Mapping Operation Data Unmanned Solutions                                                               Case number (if known)
             Name



                                            ❑    $0-$50,000                            ❑     $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑     $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑     $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ✔
                                            ❑    $500,001-$1 million                   ❑     $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     06/30/2023
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Daniel L. Hubert                                                   Printed name
                                                                                                                                            Daniel L. Hubert
                                                    Signature of authorized representative of debtor


                                                    Title                              CEO



         18. Signature of attorney
                                                ✘                      /s/ Thomas B. Gorrill                             Date      06/30/2023
                                                                                                                                   MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Thomas B. Gorrill
                                                    Printed name

                                                     Law Office of Thomas Gorrill
                                                    Firm name

                                                     9984 Scripps Ranch Blvd # 335
                                                    Number          Street


                                                     San Diego                                                              CA              92131-1825
                                                    City                                                                   State            ZIP Code



                                                     (619) 237-8889                                                          tom@gorillalaw.com
                                                    Contact phone                                                           Email address



                                                     #102979                                                                 CA
                                                    Bar number                                                              State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 4
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                                 CORPORATE RESOLUTION
                                          BY
               MAPPING OPERATION DATA UNMANNEED SOLUTIONS
                                     A California Corporation


       The Board of Directors of Mapping Operation Data Unmanned Solutions, (hereinafter the
"Corporation") held a meeting on June 16, 2023, notice requirements having been previously
waived by the members of the Board of Directors. A quorum was present.

        WHEREAS the Board of Directors have determined that it is in the best interest of the
Corporation, its creditors, stockholders and other interested parties that a Petition be filed on
behalf of the Corporation, thereby commencing a voluntary proceeding under Chapter 7 of the
Bankruptcy Code, be it;

        RESOLVED: that a formal Petition for relief under Chapter 7 of Title 11, of the United
States Bankruptcy Code, presented to the Board of Directors is hereby approved and adopted in
all respects, and be it;

        RESOLVED FURTHER: That Daniel Hubert, CEO, is hereby authorized and directed,
acting together or alone, to execute and verify a Petition substantially in the form approved, and
to cause the same to be filed with the United States Bankruptcy Court, for the Southern District
of California, and be it;

       RESOLVED FURTHER: that the aforementioned parties are hereby authorized to
execute and file all Petitions, schedules, lists, and any other papers and to take any and all action
which they may deem necessary or proper in connection with proceedings under Chapter 7, and
be it;

        RESOLVED FURTHER: that the Corporation hereby retains and employs Thomas B.
Gorrill, Esq. as legal counsel to represent the Corporation in these proceedings.




Dated:     June 23, 2023
                                               DANIEL J. HUBERT
                Case 23-01916-LT7                   Filed 06/30/23            Entered 06/30/23 17:54:29                   Doc 1          Pg. 6 of 44


 Fill in this information to identify the case:

 Debtor name                Mapping Operation Data Unmanned Solutions

 United States Bankruptcy Court for the:
                              Southern District of California


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     06/30/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Daniel L. Hubert
                                                                                Signature of individual signing on behalf of debtor


                                                                                Daniel L. Hubert
                                                                                Printed name


                                                                                CEO
                                                                                Position or relationship to debtor



Official Form B202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name                         Mapping Operation Data Unmanned Solutions

 United States Bankruptcy Court for the:
                                        Southern District of California


 Case number (if known):                                                                 Chapter            7                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                       12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                            $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                       $459,325.00

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                       $459,325.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                             $0.00



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $696,637.00




 4. Total liabilities..............................................................................................................................................................................                    $696,637.00

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                          page 1
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 Fill in this information to identify the case:

 Debtor name                Mapping Operation Data Unmanned Solutions

 United States Bankruptcy Court for the:
                              Southern District of California


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)             Type of account                  Last 4 digits of account number
       3.1 Chase Bank                                               Checking account                        7799                                         $220.00

       3.2 Chase Bank                                                Savings account                        3637                                           $24.00

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                           $244.00
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                          page 1
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Debtor        Mapping Operation Data Unmanned Solutions                                                          Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                             $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:             $5,000.00                -                $5,000.00                  = ...... ➔                               $0.00
                                     face amount                            doubtful or uncollectible accounts


         11b. Over 90 days old:                                         -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                             $0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
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Debtor       Mapping Operation Data Unmanned Solutions                                                   Case number (if known)
             Name



         None


  17. Total of Part 4
                                                                                                                                                      $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of   Valuation method used      Current value of debtor's
                                                            physical inventory      debtor's interest   for current value          interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                        $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.


Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                    page 3
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Debtor       Mapping Operation Data Unmanned Solutions                                                   Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used      Current value of debtor's
                                                                                   debtor's interest    for current value          interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                          $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                  page 4
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Debtor       Mapping Operation Data Unmanned Solutions                                                   Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used      Current value of debtor's
                                                                                   debtor's interest    for current value          interest
                                                                                   (Where available)


  39. Office furniture

         39.1 Used office furniture                                                        (Unknown)    Liquidation                              $1,000.00


  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         41.1 Misc used office equip                                                       (Unknown)                                               $850.00


         Additional Page Total - See continuation page for additional entries                                                                   $10,000.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                                $11,850.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                       Net book value of    Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value          interest
         or N-number)                                                              (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                  page 5
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Debtor        Mapping Operation Data Unmanned Solutions                                                      Case number (if known)
             Name



  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         50.1 2 drone engines and components                                                      $0.00     Liquidation                             $22,000.00


  51. Total of Part 8
                                                                                                                                                    $22,000.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value           interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                          $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes

Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                     page 6
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Debtor       Mapping Operation Data Unmanned Solutions                                                   Case number (if known)
             Name




 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of   Valuation method used       Current value of debtor's
                                                                                   debtor's interest   for current value           interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         None


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                      $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 11: All other assets




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                  page 7
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Debtor        Mapping Operation Data Unmanned Solutions                                                  Case number (if known)
             Name



  70. Does the debtor own any other assets that have not yet been reported on this form?
         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                   Current value of debtor's
                                                                                                                                   interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         72.1 Net operating losses                                                                 Tax year: 2021 to 2022                      $300,585.00


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

              Claims against Florida engineer, including professional                                                                          $100,000.00
         74.1 negligence and misrepresentation
         Nature of Claim     Tort claim
         Amount Requested        (Unknown)

         Additional Page Total - See continuation page for additional entries                                                                   $24,646.00

  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                               $425,231.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                  page 8
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Debtor        Mapping Operation Data Unmanned Solutions                                                                              Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                   $244.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                      $11,850.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                             $22,000.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                 $425,231.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                  $459,325.00         + 91b.                           $0.00



                                                                                                                                                                                 $459,325.00
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                                       page 9
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Debtor       Mapping Operation Data Unmanned Solutions                                                Case number (if known)
            Name



          Additional Page


         General description                                                  Net book value of      Valuation method used      Current value of debtor's
                                                                              debtor's interest      for current value          interest
                                                                              (Where available)

  41. Office equipment - Continued
         41.2 Drone ground control station                                            (Unknown)                                              $10,000.00


                                                                                                                                Current value of debtor's
                                                                                                                                interest

  74. Causes of action against third parties (whether or not a lawsuit has been filed) - Continued
              Claim against internet fraudster posing as legitimate
         74.2 customer
         Nature of Claim   Fraud
         Amount Requested      $24,646.00                                                                                                    $24,646.00




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                    page 10
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 Fill in this information to identify the case:

     Debtor name     Mapping Operation Data Unmanned Solutions

     United States Bankruptcy Court for the:                 Southern                 District of         California
                                                                                                    (State)
     Case number (if known):                                                                                                                           ❑   Check if this is an
                                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ✔
       ❑   No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ❑   Yes. Fill in all of the information below.

     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                             Column A                       Column B
        than one secured claim, list the creditor separately for each claim.                                                 Amount of claim                Value of collateral
                                                                                                                             Do not deduct the value        that supports this
                                                                                                                             of collateral.                 claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien

        Creditor’s mailing address



                                                             Describe the lien
        Creditor’s email address, if known


                                                             Is the creditor an insider or related party?
        Date debt was
        incurred                                             ❑   No
                                                             ❑   Yes
        Last 4 digits of
                                                             Is anyone else liable on this claim?
        account
        number                                               ❑   No
                                                             ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest
        in the same property?                  As of the petition filing date, the claim is:
        ❑   No
                                                             Check all that apply.

        ❑   Yes. Specify each creditor, including this       ❑   Contingent
                 creditor, and its relative priority.        ❑   Unliquidated
                                                             ❑   Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 1
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 Fill in this information to identify the case:

 Debtor name                Mapping Operation Data Unmanned Solutions

 United States Bankruptcy Court for the:
                               Southern District of California


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                 Total claim               Priority amount

       Priority creditor’s name and mailing address              As of the petition filing date, the claim is:
2.1                                                              Check all that apply.
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
                                                                 Basis for the claim:
       Date or dates debt was incurred


                                                                 Is the claim subject to offset?
       Last 4 digits of account
                                                                 ❑ No
       number
                                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address              As of the petition filing date, the claim is:
2.2                                                              Check all that apply.
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
                                                                 Basis for the claim:
       Date or dates debt was incurred


                                                                 Is the claim subject to offset?
       Last 4 digits of account
                                                                 ❑ No
       number
                                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 6
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Debtor        Mapping Operation Data Unmanned Solutions                                                       Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                        Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $40,050.00
                                                                            Check all that apply.
       Atlantic Diving Supply, Inc
                                                                            ❑ Contingent
       621 Lynnhaven Pkwy Ste 160                                           ❑ Unliquidated
                                                                            ❑ Disputed
       Virginia Bch, VA 23452-7383
                                                                            Basis for the claim: Breach of contract claim
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $189.00
                                                                            Check all that apply.
       Chase Bank
                                                                            ❑ Contingent
       Po Box 15298                                                         ❑ Unliquidated
                                                                            ❑ Disputed
       Wilmington, DE 19850-5298
                                                                            Basis for the claim: Credit card acct
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $7,500.00
                                                                            Check all that apply.
       CP North America
                                                                            ❑ Contingent
       10840 Thorn Mint Rd Ste 100                                          ❑ Unliquidated
                                                                            ❑ Disputed
       San Diego, CA 92127
                                                                            Basis for the claim: Vendor
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:               $237,695.00
3.4                                                                         Check all that apply.
       Daniel Hubert
                                                                            ❑ Contingent
       1155 Camino del Mar Ste 211                                          ❑ Unliquidated
                                                                            ❑ Disputed
       Del Mar, CA 92014
                                                                            Basis for the claim: Owner's advances
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 2 of 6
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Debtor      Mapping Operation Data Unmanned Solutions                                                    Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $2,629.00
                                                                       Check all that apply.
      Igage Mapping Corporation
                                                                       ❑ Contingent
      1545 S 1100 E Ste 1                                              ❑ Unliquidated
                                                                       ❑ Disputed
      Salt Lake Cty, UT 84105
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $117,000.00
                                                                       Check all that apply.
      IMSAR, LLC
                                                                       ❑ Contingent
      940 S 2000 W Ste 140                                             ❑ Unliquidated
                                                                       ❑ Disputed
      Springville, UT 84663-3198
                                                                       Basis for the claim: Breach of contract claim
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $18,000.00
                                                                       Check all that apply.
      Joel Carver
                                                                       ❑ Contingent
      joel@csidronesolutions.com                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:               $106.00
3.8                                                                    Check all that apply.
      MUFG Union Bank
                                                                       ❑ Contingent
      Po Box 60398                                                     ❑ Unliquidated
                                                                       ❑ Disputed
      Phoenix, AZ 85082-0398
                                                                       Basis for the claim: Credit card acct
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3 of 6
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Debtor        Mapping Operation Data Unmanned Solutions                                                      Case number (if known)
             Name




 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:                $80,000.00
                                                                           Check all that apply.
         Savit Corporation                                                 ✔ Contingent
                                                                           ❑
                                                                           ✔ Unliquidated
                                                                           ❑
         400 Commons Way
                                                                           ✔ Disputed
                                                                           ❑
         Rockaway, NJ 07866-2030
                                                                                                Breach of contract and
                                                                           Basis for the claim: related claims
         Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Last 4 digits of account number
                                                                           ❑ Yes
3.10 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:                $658.00
                                                                           Check all that apply.
         Sitech Pacific, LLC
                                                                           ❑ Contingent
         1499 Palmyrita Ave                                                ❑ Unliquidated
                                                                           ❑ Disputed
         Riverside, CA 92507
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number
                                                                           ❑ Yes

3.11 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:                $192,010.00
                                                                           Check all that apply.
         Skydio, Inc.
                                                                           ❑ Contingent
         3000 Clearview Way Bldg E                                         ❑ Unliquidated
                                                                           ❑ Disputed
         San Mateo, CA 94402-3710
                                                                           Basis for the claim: Vendor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred      12/2021                      ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number      3    2   6     4

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:                $800.00
3.12                                                                       Check all that apply.
         WeWork
                                                                           ❑ Contingent
         600 B Street Ste 300                                              ❑ Unliquidated
                                                                           ❑ Disputed
         San Diego, CA 92101
                                                                           Basis for the claim: Lease
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number
                                                                           ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 6
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Debtor        Mapping Operation Data Unmanned Solutions                                                       Case number (if known)
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Miller, Scott C.                                                            Line 3.1

         999 Waterside Dr Ste 1700                                                   ❑ Not listed. Explain
         Norfolk, VA 23510-3306

 4.2     Sodono III, Anthony                                                         Line 3.9

         75 Livingston Ave, Ste 201                                                  ❑ Not listed. Explain
         McManimon Scotland & Baumann

         Roseland, NJ 07068

 4.3     Tigay, Benjamin A.                                                          Line 3.11

         3001 West Big Beaver Rd, #624                                               ❑ Not listed. Explain
         Young Basil

         Troy, MI 48084




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 5 of 6
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Debtor       Mapping Operation Data Unmanned Solutions                                            Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00




  5b. Total claims from Part 2                                                     5b.              $696,637.00
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $696,637.00
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                   page 6 of 6
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 Fill in this information to identify the case:

 Debtor name                Mapping Operation Data Unmanned Solutions

 United States Bankruptcy Court for the:
                              Southern District of California


 Case number (if known):                                        Chapter   7                                                       ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            Lease for MacBook Pro laptop                 LiftForward, Inc.
2.1    lease is for and the nature
       of the debtor’s interest              Contract to be REJECTED                      222 Broadway Fl 19
                                                                                          New York, NY 10038-2550
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or            Lease of Microsoft Surface laptop            LiftForward, Inc.
2.2    lease is for and the nature
       of the debtor’s interest              Contract to be REJECTED                      222 Broadway Fl 19
                                                                                          New York, NY 10038-2550
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 1
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 Fill in this information to identify the case:

  Debtor name          Mapping Operation Data Unmanned Solutions


  United States Bankruptcy Court for the:              Southern             District of         California

                                                                                                                                         ❑
                                                                                          (State)
  Case number (If known):
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ✔
        ❑     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑     Yes

  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                  Column 2: Creditor

                                                                                                                                          Check all schedules
         Name                               Mailing address                                                  Name
                                                                                                                                          that apply:

 2.1                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.2                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.3                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.4                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.5                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code




Official Form 206H                                                   Schedule H: Codebtors                                                          page 1 of    2
          Case 23-01916-LT7                  Filed 06/30/23          Entered 06/30/23 17:54:29                Doc 1       Pg. 27 of 44

Debtor      Mapping Operation Data Unmanned Solutions                                     Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.6                                                                                                                         ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G


                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
                 Case 23-01916-LT7                    Filed 06/30/23                 Entered 06/30/23 17:54:29            Doc 1      Pg. 28 of 44


 Fill in this information to identify the case:

 Debtor name                Mapping Operation Data Unmanned Solutions

 United States Bankruptcy Court for the:
                              Southern District of California


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which          Sources of revenue                    Gross revenue
        may be a calendar year                                                              Check all that apply                  (before deductions and
                                                                                                                                  exclusions)

       From the beginning of the                                                            ✔ Operating a business
                                                                                            ❑                                                   $1,210,068.00
                                                                                            ❑ Other
       fiscal year to filing date:      From 01/01/2023           to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2022           to    12/31/2022          ✔ Operating a business
                                                                                            ❑                                                   $1,545,658.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                            ❑ Other

       For the year before that:        From 01/01/2021           to    12/31/2021          ✔ Operating a business
                                                                                            ❑                                                     $300,193.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                            ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                            Description of sources of revenue     Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2023           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2022           to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:        From 01/01/2021           to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 1
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Debtor           Mapping Operation Data Unmanned Solutions                                                       Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                        Dates              Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
                                                                                                               ❑ Services
        Street

                                                                                                               ❑ Other
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 2
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Debtor           Mapping Operation Data Unmanned Solutions                                                        Case number (if known)
                 Name

 5.1.
        Creditor's name


        Street




        City                         State    ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                         State    ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Atlantic Diving Supply, Inc. v.         Breach of contract                      Norfolk Circuit Court                                 ✔ Pending
                                                                                                                                              ❑
                                                                                                                                              ❑ On appeal
        Mapping Operations Data                                                         Name
        Unmanned Solutions , et al                                                      150 Saint Pauls Blvd Fl 7
                                                                                        Street                                                ❑ Concluded
         Case number                                                                    Civil Division
                                                                                        Norfolk, VA 23510-2747
        710CL22014024-00                                                                City                         State     ZIP Code

 7.2.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Savit Corporation v. Mapping            Breach of contract and related          Superior Court of New Jersey, Morris Count,           ✔ Pending
                                                                                                                                              ❑
        Operations Data Unmanned
        Solutions, et al
                                                claims                                  Law Dividion
                                                                                        Name                                                  ❑ On appeal
                                                                                                                                              ❑ Concluded
                                                                                        Street
         Case number

        MRS-L-000118-23
                                                                                        City                         State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑



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Debtor            Mapping Operation Data Unmanned Solutions                                                      Case number (if known)
                  Name
 8.1.     Custodian’s name and address                     Description of the property                          Value


         Custodian’s name
                                                           Case title                                           Court name and address
         Street
                                                                                                               Name

                                                           Case number                                         Street
         City                        State     ZIP Code



                                                           Date of order or assignment                         City                          State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                   Dates given          Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                            lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None




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Debtor            Mapping Operation Data Unmanned Solutions                                                     Case number (if known)
                  Name

 11.1.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         Law Office of Thomas Gorrill                          Attorney's Fee                                           05/15/2023                    $5,480.00


          Address

         9984 Scripps Ranch Blvd # 335
         Street


         San Diego, CA 92131-1825
         City                        State    ZIP Code


          Email or website address

         tom@gorillalaw.com

          Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                        State    ZIP Code


          Relationship to debtor




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
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Debtor          Mapping Operation Data Unmanned Solutions                                                          Case number (if known)
                Name
 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                              Dates of occupancy

 14.1.                                                                                                        From                     To
         Street




         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the       If debtor provides meals
                                                            debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                            Location where patient records are maintained(if different from        How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                                 Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 6
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Debtor           Mapping Operation Data Unmanned Solutions                                                        Case number (if known)
                 Name

        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                        Name of plan                                                                   Employer identification number of the plan

                                                                                                      EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account       Type of account              Date account was          Last balance
                                                          number                                                      closed, sold, moved,      before closing
                                                                                                                      or transferred            or transfer

 18.1                                                     XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
        Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
        City                       State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑    No

                                                                                                                                                 ❑
        Name
                                                                                                                                                      Yes
        Street

                                                          Address

        City                       State   ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 7
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Debtor            Mapping Operation Data Unmanned Solutions                                                       Case number (if known)
                  Name

 20.1     Facility name and address                              Names of anyone with access to it      Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑   No

                                                                                                                                                  ❑
         Name
                                                                                                                                                      Yes
         Street

                                                                 Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                    Location of the property                Description of the property                   Value


         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Case title                                      Court or agency name and address                   Nature of the case                            Status of case

                                                                                                                                                        ❑ Pending
          Case number
                                                        Name
                                                                                                                                                        ❑ On appeal
                                                        Street
                                                                                                                                                        ❑ Concluded


                                                        City                         State   ZIP Code




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Debtor            Mapping Operation Data Unmanned Solutions                                                    Case number (if known)
                  Name
 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                       Governmental unit name and address                  Environmental law, if known                Date of notice


         Name                                        Name


         Street                                      Street




         City                  State   ZIP Code      City                       State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                       Governmental unit name and address                  Environmental law, if known                Date of notice


         Name                                        Name


         Street                                      Street




         City                  State   ZIP Code      City                       State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                   Describe the nature of the business                         Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:         –
         Name
                                                                                                                  Dates business existed
         Street
                                                                                                                From                  To



         City                  State   ZIP Code


 26. Books, records, and financial statements
 26a.    List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         ✔None
         ❑




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Debtor           Mapping Operation Data Unmanned Solutions                                                 Case number (if known)
                 Name

           Name and address                                                                                   Dates of service

 26a.1.
                                                                                                             From                   To
          Name


          Street




          City                                          State                   ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                   Dates of service

 26b.1.
                                                                                                             From                   To
          Name


          Street




          City                                          State                   ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ❑None
           Name and address                                                                                   If any books of account and records are
                                                                                                              unavailable, explain why
 26c.1.
          Management of debtor
          Name


          Street




          City                                          State                   ZIP Code

 26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address

 26d.1.
          Name


          Street




          City                                          State                   ZIP Code


 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ✔ No
        ❑
        ❑ Yes. Give the details about the two most recent inventories.



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Debtor          Mapping Operation Data Unmanned Solutions                                                         Case number (if known)
                Name

          Name of the person who supervised the taking of the inventory                           Date of             The dollar amount and basis (cost, market, or
                                                                                                  inventory           other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                       State                 ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                            Address                                                          Position and nature of any               % of interest, if any
                                                                                                           interest

         Daniel Hubert                                                                                    CEO,                                                 100.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                            Address                                                       Position and nature of any          Period during which
                                                                                                        interest                            position or interest was
                                                                                                                                            held

                                                                                                    ,                                        From
                                                                                                                                             To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ❑ No
         ✔ Yes. Identify below.
         ❑
          Name and address of recipient                                          Amount of money or description            Dates                    Reason for providing
                                                                                 and value of property                                              the value


 30.1. Daniel Hubert                                                                                                      Last 12 months         Paid salary as CEO
       Name


         Street




         City                                     State        ZIP Code


          Relationship to debtor

         CEO

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑




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Debtor      Mapping Operation Data Unmanned Solutions                                                           Case number (if known)
            Name

      ❑ Yes. Identify below.
           Name of the parent corporation                                                            Employer Identification number of the parent corporation

                                                                                                    EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
           Name of the pension fund                                                                  Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          06/30/2023
                     MM/ DD/ YYYY




    ✘ /s/ Daniel L. Hubert                                               Printed name                      Daniel L. Hubert
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor                 CEO




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 12
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                              Southern District of California

In re        Mapping Operation Data Unmanned Solutions

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $5,480.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $5,480.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        Representation in any adversary proceeding, lien avoidance, relief from stay, reaffirmation agreement, Rule 2004 exam, or any other
        motions or contested matters.




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        06/30/2023                                             /s/ Thomas B. Gorrill
                Date                                         Thomas B. Gorrill
                                                             Signature of Attorney
                                                                                              Bar Number: #102979
                                                                                       Law Office of Thomas Gorrill
                                                                                     9984 Scripps Ranch Blvd # 335
                                                                                        San Diego, CA 92131-1825
                                                                                            Phone: (619) 237-8889
                                                                                               Fax: (619) 330-2125

                                                                         Law Office of Thomas Gorrill
                                                            Name of law firm




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF CALIFORNIA
                                                           SAN DIEGO DIVISION

IN RE: Mapping Operation Data Unmanned                                                CASE NO
       Solutions
                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      06/30/2023            Signature                                 /s/ Daniel L. Hubert
                                                                          Daniel L. Hubert, CEO
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                               Atlantic Diving Supply, Inc
                               621 Lynnhaven Pkwy Ste 160
                               Virginia Bch, VA 23452-7383




                               Chase Bank
                               Po Box 15298
                               Wilmington, DE 19850-5298




                               CP North America
                               10840 Thorn Mint Rd Ste 100
                               San Diego, CA 92127




                               Daniel Hubert
                               1155 Camino del Mar Ste 211
                               Del Mar, CA 92014




                               Igage Mapping Corporation
                               1545 S 1100 E Ste 1
                               Salt Lake Cty, UT 84105




                               IMSAR, LLC
                               940 S 2000 W Ste 140
                               Springville, UT 84663-3198




                               Joel Carver
                               joel@csidronesolutions.com




                               LiftForward, Inc.
                               222 Broadway Fl 19
                               New York, NY 10038-2550
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                               Scott C. Miller
                               999 Waterside Dr Ste 1700
                               Norfolk, VA 23510-3306




                               MUFG Union Bank
                               Po Box 60398
                               Phoenix, AZ 85082-0398




                               Savit Corporation
                               400 Commons Way
                               Rockaway, NJ 07866-2030




                               Sitech Pacific, LLC
                               1499 Palmyrita Ave
                               Riverside, CA 92507




                               Skydio, Inc.
                               3000 Clearview Way Bldg E
                               San Mateo, CA 94402-3710




                               Anthony Sodono, III
                               McManimon Scotland & Baumann
                               75 Livingston Ave, Ste 201
                               Roseland, NJ 07068



                               Benjamin A. Tigay
                               Young Basil
                               3001 West Big Beaver Rd, #624
                               Troy, MI 48084



                               WeWork
                               600 B Street Ste 300
                               San Diego, CA 92101
